  Name: Leo Belda | DOB: 5/17/2023 | MRN: 4116413 | PCP: Mindy L Calandro, MD | Legal Name: Leo Belda




Progress Notes
Chad Manuel, MD at 9/27/2024 1:00 PM




  Pediatric Neurology
  Clinic Consultation Note

  DATE OF SERVICE: 9/27/2024

  PATIENT: Leo Belda
  DOB: 5/17/2023
  MRN: 4116413

  Referring Provider: Calandro, Mindy L, MD
  Primary Care Provider: Calandro, Mindy L, MD

  History of Present Illness:
  The patient is a 16-month-old male presenting with concerns of hypotonia and
  developmental delay. The patient's hypotonia was first noted shortly after birth with low
  muscle tone observed during early pediatric visits. By nine months of age, significant
  developmental delays in reaching milestones such as head control were identified.
  Referral to physical therapy was made due to persistent head lag upon lifting the arms.

  Interventions for hypotonia and developmental delay have included physical therapy, as
  well as occupational therapy due to difficulties with sensory processing such as food
  aversion and reluctance to touch food. Speech therapy was also initiated to support the
  development of communication skills, although minimal verbal communication is currently
  observed, with no discernible words being spoken yet. Progress has been noted in gross
  motor skills, including recent capabilities such as clapping and army crawling. The patient
  demonstrates the ability to process and respond to certain commands, such as clapping
  hands, after a brief delay.

  This history is characterized by slow but noticeable progress in developmental milestones,
  as noted by the family's observation of an increase in strength and engagement over time.
  The patient, however, demonstrates rapid fatigue, suspected due to beta-thalassemia,
  and requires regular naps. Although there has been no loss of skills, concern remains
  regarding his persistent low muscle tone, prompting the current neurological evaluation.




  Current medications:
  None


  Family History: - Paternal history of beta thalassemia
  - No family history of muscle weakness or developmental delays
Review of Systems
ROS: The following systems were reviewed with pertinent positives and negatives
documented in the HPI:
-Constitutional, Eyes, Musculoskeletal, CV, Respiratory, GI, GU, Skin, Neurological,
Psychiatric


Objective

There were no vitals taken for this visit.

Physical Exam
General:
No acute distress
No dysmorphic facial features

Skin:
No obvious birth marks

CV:
warm and well perfused

Mental Status:
Alert, reactive
Babbling

Cranial Nerves:
PERRL
Tracks objects well
Face symmetric
Unable to assess hearing
Palate elevates symmetrically
Unable to assess shoulder shrug or head turn d/t age
Tongue midline

Motor:
truncal and upper and lower extremity tone decreased throughout
Moves all extremities antigravity and equally

Reflexes:
2+ brachioradialis bilaterally
2+ knee bilaterally
No clonus

Sensory:
Responds to touch in all extremities

Coordination:
No evidence for axial or appendicular ataxia
Unable to assess FNF or RAM d/t age

Gait:
Some difficulty standing even with support




Assessment
Assessment:
A 16-month-old male with a history of hypotonia and developmental delay presenting with
ongoing concerns regarding muscle tone and developmental milestones. Given the
persistent hypotonia and delays in gross motor functions and speech, both central and
peripheral etiologies are considered. Central origins might include CNS malformations or
developmental anomalies, whereas peripheral sources could be related to neuromuscular
junctions or myopathies, such as muscular dystrophies. The patient has low to moderate
hypotonia with mild progression in physical milestones, suggesting a possibly non-severe
etiology. Given his progress with sensory integration, tactile challenges are notable but
may be coincidental with his developmental state. Standardized genetic testing and an
MRI will be undertaken to delineate underlying causes.


Plan:



Assessment & Plan
Hypotonia
The patient has demonstrated delays in meeting typical developmental milestones from
early infancy. Initial engagement with physical therapy focused on improving head control
and addressing hypotonia. Progress in gross motor function includes the initiation of army
crawling and clapping hands, though there is notable latency in command response. He
remains non-verbal but engages in gesture-based communication. The patient presents
with tactile sensitivity and requires prompt regulation during sensory-rich activities. Overall
slow yet positive progression in developmental skills, with a developmental trajectory
appearing mildly delayed, consistent with the observed hypotonia.

Plan:
-MRI brain without contrast with sedation
-Invitae neuromuscular panel
-Follow-up in 3 to 4 months
Developmental delay


Development delay




Today's encounter took a total time of 45 minutes, and that time included preparing to see
the patient (review records, tests), obtaining and/or reviewing separately obtained
historical data, performing a medically appropriate examination and/or evaluation ,
counseling & educating the patient/family/caregiver treatment plan, and ordering
medications, tests, and/or procedures.

The ambient tool was explained, and the patient has given consent to use ambient during
visit.




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